

People v Alan L. (2023 NY Slip Op 00736)





People v Alan L.


2023 NY Slip Op 00736


Decided on February 09, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 09, 2023

Before: Kern, J.P., Singh, Shulman, Pitt-Burke, Higgitt, JJ. 


Ind. No. 2130/16 Appeal No. 17270 Case No. 2018-1989 

[*1]The People of the State of New York, Respondent,
vAlan L., Defendant-Appellant.


Justine M. Luongo, The Legal Aid Society, New York (Heidi Bota of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Paul A. Andersen of counsel), for respondent.



Judgment, Supreme Court, Bronx County (George Villegas, J.), rendered August 11, 2017, convicting defendant, upon his plea of guilty, of robbery in the second degree, adjudicating him a youthful offender, and sentencing him to a conditional discharge for a period of three years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fee imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers and the People's consent, we vacate
the surcharge and fee imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 9, 2023








